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Attorneys for Defendant, Safeway, Inc.


                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF ALASKA

SHEN YANG,                            )
                                      )
               Plaintiff,             )
                                      )
vs.                                   )
                                      )
SAFEWAY, INC.                         )
                                      )
               Defendant.             )       Case No. 3:09-cv-________ (______)
                                      )

                NOTICE OF REMOVAL OF CASE FROM STATE COURT
                  (SUPERIOR COURT CASE NO. 3AN-09-4331 CIVIL)

       TO THE DISTRICT COURT OF THE UNITED STATES, DISTRICT OF ALASKA, AND

TO PLAINTIFF AND HER ATTORNEY OF RECORD:

       PLEASE TAKE NOTICE that the defendant, Safeway, Inc. (hereinafter “Safeway”),

contemporaneous with the filing of this Notice, is effectuating the removal of the above referenced

action from the Superior Court of the State of Alaska, Third Judicial District, to the United States

District Court for the District of Alaska. The removal is based on the following grounds:

       l.      On or about January 13, 2009, there was filed in the Superior Court for the State of

Alaska, Third Judicial District at Anchorage, the above entitled action, Case No. 3AN-09-4331




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Civil. A copy of the original complaint and all process, pleadings and other orders required to be

included with the notice per 28 USC 1446(a) is attached as Exhibit A.

       2.      Safeway first received notice of the complaint by service via a process server on or

about January 22, 2009.

       3.      The United States District Court has jurisdiction over the Superior Court action in this

matter, pursuant to 28 U.S.C. § 1332, as one that may be removed under 28 U.S.C. § 1441(a) based

on diversity of citizenship, and as meeting all jurisdictional requirements.

       4.      This notice of removal is timely filed in that it is filed within thirty days of receipt of

a copy of the complaint by defendants, which sets out a claim for relief.

       5.      Safeway is a corporation organized under the laws of the State of California with its

principal place of business in California. Its corporate citizenship is California.

       6.      Plaintiff is a citizen of Alaska.

       7.      There is complete diversity of citizenship between plaintiff and defendant.

       8.      The complaint was filed in Alaska Superior Court, which has minimal jurisdiction

limits of $100,000, thus meeting the jurisdictional requirements of 28 U.S.C. § 1332(b).

       9.      Safeway expressly consents to removal of this action.

       10.     The United States District Court has jurisdiction over the State of Alaska Superior

Court action, pursuant to 28 U.S.C. § 1332 as one that may be removed under 28 U.S.C. § 1441

based on diversity of citizenship, and as meeting all jurisdictional requirements.

       11.     The notice to State Superior Court of the notice of removal is being filed

contemporaneously with this notice in federal court.




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         DATED this ______ day of February, 2009, at Anchorage, Alaska.

                                         DELANEY WILES, INC.
                                         Attorney for Defendant Safeway, Inc.

                                         /s/Cynthia L. Ducey
                                         Delaney Wiles, Inc.
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                                         E-mail: cld@delaneywiles.com
                                         Alaska Bar No. 8310161




CERTIFICATE OF SERVICE

I hereby certify that a true and
correct copy of this document
was sent via mail on the 11th
day of February, 2009, to:

  George M. Kapolchok
  George M. Kapolchok Law Offices, LLC
  360 K Street, Suite 100
  Anchorage, AK 99501

/s/Donna I. Charter
152027




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